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U.S. v, Dereck Mufioz-Nieves, Cr. 18-023 (PAD)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

 

UNITED STATES OF AMERICA, CRIMINAL NO. 18-023 (PAD)
Plaintiff, 44567,
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V. WERK Sha C2)
ICE »
[2] DERECK MUNOZ-NIEVES, 2 03.5 2
a/k/a “Macaco,” = $Ois "Ro , UO
Defendant. NM Way COUR ge
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PLEA AGREEMENT
TO THE HONORABLE COURT:

The United States of America, Defendant, Dereck Muiioz-Nieves, and
Defendant’s counsel, Francisco Rebollo-Casalduc, Esq., pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(A) and @), state that they have reached a Plea
Agreement, the terms and conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty
Defendant agrees to plead guilty to Counts One, Three, Four, Five, Seven,
Nine, Thirteen, and Fifteen of the Second Superseding Indictment, which charge as
follows:

Count One (carjacking of 2010 Mitsubishi Outlander):

On or about January 12, 2018, in the District of Puerto Rico and within
the jurisdiction of this Court, the defendants, . .. , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” ... , aiding and abetting each
other, with the intent to cause death and serious bodily harm, did take a
motor vehicle from the person and presence of A.B.C and D.E-F., that
is, a 2010 Mitsubishi Outlander, VIN JA4AS3AX14Z000270, a vehicle
that had been transported, shipped and received in interstate and foreign

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commerce, by force, violence, and intimidation. All in violation of 18
U.S.C. §§ 2119(1) and 2.

Count Three (carjacking of 2005 Infinity FX-35):

On or about January 13, 2018, in the District of Puerto Rico and within
the jurisdiction of this Court, the defendants, ... , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” . . . , aiding and abetting each
other, with the intent to cause death and serious bodily harm, did take a
motor vehicle from the person and presence of U.V.W. and X.Y.Z., that
is, a 2005 Infinity FX-35, VIN JNRASO8WX5X213348, a vehicle that
had been transported, shipped and received in interstate and foreign
commerce, by force, violence and intimidation. All in violation of 18
U.S.C. §§ 2119(1) and 2.

Count Four (brandishing a firearm during and in relation to Infinity carjacking):

On or about January 13, 2018, in the District of Puerto Rico and within
the jurisdiction of this Court, the defendants, . . . , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” . . . , aiding and abetting each
other, did knowingly brandish; carry. and use a firearm during and in
relation to a crime of violence for which they may be prosecuted in a
court of the United States, that is, 18 U.S.C. § 2119(1), as charged in
Count Three. All in violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and 2.

Count Five (carjacking of KTM 450 motorcycle resulting in death):

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On or about January 13, 2018, in the District of Puerto Rico and within
the jurisdiction of this Court, the defendants, ... , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” . .. , aiding and abetting each
other and other persons known to the Grand Jury, took a motor vehicle,
ared and white all-terrain KTM 450 motorcycle with an unknown license
plate, that had been transported, shipped, and received in interstate and
foreign commerce, from and in the presence of A.A.T. by force, violence,
and intimidation, with the intent to cause death and serious bodily harm,
resulting in the death of A.A.T., in violation of 18 U.S.C. §§ 2119(3)
and 2.

Count Seven (robbery of Tripletas Mixtas Ruiz):
On or about January 14, 2018, in the District of Puerto Rico and within

the jurisdiction of this Court, the defendants, ... , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” . .. , aiding and abetting each

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other and other persons known to the Grand Jury, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay, and affect
commerce, as that term is defined in 18 U.S.C. § 1951, and the
movements of articles and commodities in such commerce, by robbery,
as that term is defined in 18 U.S.C. § 1951, in that the defendants, did
unlawfully take and obtain property from Tripletas Mixtas Ruiz,
consisting of U.S. currency, from and in the presence of R.R.R. and
J.M.A., against their will by means of actual and threatened force,
violence, and fear of injury, immediate and future to their person, in
violation of 18 U.S.C. §§ 1951 and 2.

Count Nine (carjacking of Toyota Tacoma resulting in. death):

On or about January, 14, 2018, in the District of Puerto Rico and within
the jurisdiction of this Court, the defendants, .. . , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” . .. , aiding and abetting each
other and other persons known to the Grand Jury, took a motor vehicle,
a 2010 gray Toyota Tacoma, with VIN: 5TFLU4EN5FX115111, that
had been transported, shipped, and received in interstate and foreign
commerce, from and in the presence of J.M.R. by force, violence, and
intimidation, with the intent to.cause death and serious bodily harm,
resulting in the death of J.M.R., in violation of 18 U.S.C. §§ 2119(3)
and 2.

Count Thirteen (robbery of El Invader business):

On or about January 11, 2018, in the District of Puerto Rico and within
the jurisdiction of this Court, the defendants, ... , [2] DERECK
MUNOZ-NIEVES, a/k/a “MACACO,” . . . , aiding and abetting each
other and other persons known to the Grand Jury, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay, and affect
commerce, as that term is defined in 18 U.S.C. § 1951, and the
movements of articles and commodities in such commerce, by robbery,
as that term is defined in 18 U.S.C. § 1951, in that the defendants, did
unlawfully take and obtain property from El Invader business, consisting
of U.S. currency, from and in the presence of P.O.R., against his will by
means of actual and threatened force, violence, and fear of injury,
immediate and future to his person, in violation of 18 U.S.C. §§ 1951
and 2.

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Count Fifteen (carjacking of Mitsubishi Lancer):

On or about November 24, 2017, in the District of Puerto Rico and

within the jurisdiction of this Court, the defendants, ... , [2] DERECK

MUNOZ-NIEVES, a/k/a “MACACO,” .. . , aiding and abetting each

other, with the intent to cause death and serious bodily harm, did take a

motor vehicle from the person and presence of G.H.I. and J.K.L., that is,

a white Mitsubishi Lancer, license plate I[Z181, a vehicle that had been

transported, shipped and received in interstate and foreign commerce, by

force, violence, and intimidation. All in violation of 18 U.S.C. §§ 2119(1)

and 2.

Defendant pleads guilty to those counts as they are charged in the Second
Superseding Indictment.

2. Maximum Penalties

Counts One, Three, and Fifteen: The statutory penalties for each of the
offenses charged in Counts One, Three, and Fifteen of the Second Superseding
Indictment are a term of imprisonment of not more than fifteen years, pursuant to 18
U.S.C. § 2119(1); a fine not to exceed two hundred and fifty thousand dollars, pursuant
to 18 U.S.C. § 3571(b)(3); and a supervised-release term of not more than three years,
pursuant to 18 U.S.C. § 3583(b)(2).

Counts Five and Nine: The statutory penalties for each of the offenses charged

 

in Counts Five and Nine of the Second Superseding Indictment are a term of
imprisonment of up to life, pursuant to 18 U.S.C. § 2119(3); a fine not to exceed two
hundred and fifty thousand dollars, pursuant to 18 U.S.C. § 3571(b)(3); and a
supervised-release term of not more than five years, pursuant to 18 U.S.C. § 3583(b)(1).

Counts Seven and Thirteen: The statutory penalties for each of the offenses

charged in Counts Seven and Thirteen of the Second Superseding Indictment are a

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term of imprisonment of up to twenty years, pursuant to 18 U.S.C. § 1951; a fine not
to exceed two hundred and fifty thousand dollars, pursuant to 18 U.S.C. § 357 1(b)(3);
and a supervised-release term of not more than three years, pursuant to 13 UB.
§ 3583(b)(2).

Count Four: The statutory penalties for the offense charged in Count Four of
the Second Superseding Indictment are a term of imprisonment of not less than seven
years and up to life, pursuant to 18 U.S.C. § 924(c)(1)(A)G@); a fine not to exceed two
hundred and fifty thousand dollars, pursuant to 18 U.S.C. § 3571(b)(3); and a
supervised-release term of not more than five years, pursuant to 18 U.S.C. § 3583(b)(1).

3. Sentencing Guidelines Applicability

Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 355 1-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.

4, Special Monetary Assessment

Defendant agrees to pay a special monetary assessment (“SMA”) of one

hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

Crime Victim Fund, pursuant to 18 U.S.C. § 3013(a)(2)(A).

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5, Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines, order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute
and make available, prior to sentencing, a standardized financial statement (OBD
Form 500). The United States will advocate on behalf of any identified victim, and
comply with its obligations under the Mandatory Victim Restitution Act of 1996.
6. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties

ve yp will seek, or what the actual sentence will be.

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7, Recommended Sentencing Guidelines Calculations

After due consideration of the relevant factors enumerated in 18 U.S.C.

§ 3553(a), the United States and Defendant submit that the advisory Guidelines

calculations listed below apply to Defendant. However, Defendant acknowledges

that the Court is not required to accept those recommended Guidelines calculations.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Groups Count 1 | Count3 | Count 5 |Count7! Count 9 Count 13| Count 15
Description of crime 1/12/18 | 1/13/18 | 1/13/18 |1/14/18} 1/14/18 | 1/11/18 | 11/24/17
Outlander Infinity FX|Motorcycle|Tripletas| Tacoma [El Invader Lancer
Carjacking’ Carjacking] Carjacking | Robbery |Carjacking| Robbery Carjackin
Cross-reference for 43 43 43 43
murder under USSG
§§ 2B3.1(c) & 2A1.1
Base offense level under 20 20 - - - - 20
USSG § 2B3.1(a}
Offense involved 2 2 - - - - 2
carjacking, USSG
§ 2B3.1(b)(5)
Dangerous weapon was 3 - - - - - 3
brandished, USSG
§ 2B3.1b)@E)
Total Offense Level 25 22 43 43 A3 43 25
per Group
Units per group under - - 1 1 1 1 -
U.S.S.G. §3D1.4
Determining the Combined Offense Level for
Counts One, Three, Five, Seven, Nine, Thirteen, and Fifteen

“Offense level applicable to the Group with the highest offense level,” U.S.S.G. 43

§ 3D14

Offense level enhancement under U.S.S.G. § 3D1.4 based on number of units 4

3-level reduction for timely acceptance of responsibility, U.S.S.G. § 3E1.1. 3

Combined Total Offense Level 44

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Count Four: With respect to Count Four, U.S.S.G. § 2K2.4(b) establishes that
the advisory Guidelines sentence is the minimum term of imprisonment required by
statute, that is, seven years, pursuant to 18 U.S.C. § 924(c)(1)(A)@).

8. Sentence Recommendation

After due consideration of the relevant factors enumerated in 18 U.S.C.
§ 3553(a), the parties agree to make the following recommendations at sentencing.

With respect to Count One (Outlander carjacking), Count Three (Infinity
carjacking), and Count Fifteen (Lancer carjacking), at sentencing the parties will
jointly recommend as to each of those counts imprisonment sentences of 180 months
(ie., 15 years), to be served concurrently with each other.

As to Count Five (motorcycle carjacking) and Count Nine (Toyota Tacoma
carjacking), at sentencing the parties will contend imprisonment sentences on each
of those counts within a range of 228 to 276 months (i.e., 19 to 23 years), to be served
concurrently with each other and concurrently with the imprisonment sentences on
Counts One, Three, and Fifteen.

With respect to Count Seven (Tripletas Mixtas Ruiz robbery) and Count
Thirteen (El Invader robbery), at sentencing the parties will recommend as to each of
those counts imprisonment sentences within a range of 228 to 240 months (.e.,
19 to 20 years), to be served concurrently with each other and concurrently with the

imprisonment sentences on Counts One, Three, Five, Nine, and Fifteen.

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Regarding Count Four (ie., violation of 18 U.S.C. § 924(c)(1)(A)(i)), at
sentencing the parties will jointly recommend imprisonment of 84 months
(i.e., 7 years), to be served consecutively with any other sentence.

Therefore, at sentencing the parties will recommend total imprisonment within
a range of 312 to 360 months (i.e., 26 to 30 years).

The parties agree that any recommendation by either party for a term of
imprisonment below or above the stipulated sentence recommendation will constitute
a material breach of the Plea Agreement.

9. No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
10. Waiver of Appeal

Defendant knowingly and voluntarily agrees that, if the total combined
imprisonment sentence for all counts of conviction in this case is 30 years or less, the
Defendant waives the right to appeal any aspect of this case’s judgment and sentence,

including but not limited to the term of imprisonment or probation, restitution, fines,
forfeiture, and the term and conditions of supervised release.
11. No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than. any explicitly provided for in this Plea

Agreement—shall be sought by Defendant. The parties agree that any request by

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Defendant for an adjustment or departure that is not explicitly provided for in this Plea
Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
12. Satisfaction with Counsel
Defendant is satisfied with counsel, Francisco Rebollo-Casalduc, Esq., and
asserts that counsel has rendered effective legal assistance.
13. Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel.’The-trial:may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected atrandom. Defendant and Defendant's attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge

separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant's guilt
beyond a reasonable doubt.

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d. At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In tum, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

e. Ata trial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from
Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

14. Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby
incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and
agrees that the facts therein are accurate in every respect. Defendant agrees and accepts
that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
15. Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district,
state, or local authorities.
16. Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no

promises or representations except as set forth in writing in this Plea Agreement and

denies the existence of any other terms and conditions not stated herein.

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17. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
18. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
19. Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to: sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a Bheach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in
breach of the Plea Agreement, Defendant is deemed to have waived any objection to
the reinstatement of any charges under the indictment, information, or complaint
which may have previously been dismissed or which may have not been previously
prosecuted.
20. Potential Impact on Immigration Status

Pursuant to Federal Rule of Criminal Procedure 11(6)(1)(O), Defendant hereby

agrees and recognizes that if convicted, a Defendant who is not a United States citizen

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may be removed from the United States, denied citizenship, and denied admission to
the United States in the future.
21. Felony Conviction

Defendant hereby agrees and recognizes that the plea of guilty in this case will

be. recognized as a felony conviction, which may result in the loss of certain rights,
including but not limited to the right to vote in a federal election, to serve as a juror,
to hold public office, and to lawfully possess a firearm.
22. Dismissal of Remaining Counts

At sentencing should there be any pending counts and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Second Superseding Indictment pending against
Defendant in this case.

W. STEPHEN MULDROW

United States Attorney / 4

 

 

 

 

 

Jonath¢n L. Gottfried A Francisco Rebollo-Casalduc, Esq.
Assistant U.S. Attorney Counsel for Defendant

Chief, Violent Crimes and Dated: -%- 22

National Secyrity Division

Dated: S14 [2

Judy Cadlop Reyes-Ramos Dereck Mufioz-Nieves

Assistant U.S. Attorney Defendant

Dated: blig [2022 Dated: Q—% ~¢lL

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UNDERSTANDING OF RIGHTS
I have consulted with counsel and fully understand all of my rights as to the

charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish
language and J have no doubts as to the contents of the agreement. I fully understand

this agreement and voluntarily agree to it.

Date: 6 <> -1+ OAEE

Dereck Mufioz-Nieves
Defendant

I am the attorney for Defendant. Lhave fully explained Defendant's rights to
Defendant with respect to the pending charges. Plcther, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering
into this Plea Agreement voluntarily, intelligently, and with full knowledge of all
consequences of Defendant’s plea of wy | .

Date: @ — 2-22 vA AA

Ftancisco Rébollo-Casalduc, Esq.
ounsel for Defendant

 

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, defendant Dereck Murioz-Nieves (hereinafter, “Defendant”) admits that
Defendant is guilty as charged in the Second Superseding Indictment and admits the
following:

Count One (1/12/18 Mitsubishi Outlander carjacking):

On January 12, 2018, Defendant and others, all aiding and abetting each other
and with the intent to cause serious bodily harm, did knowingly take a 2010 Mitsubishi
Outlander (VIN # JA4AS3AX1AZ000270) motor vehicle close to a Denny's
restaurant in Caguas, Puerto Rico, from the person and in the presence of another
person, against the person’s will, by.force, violence, and intimidation. During that
carjacking and as part of the plan known betbiehand to the Defendant, one of the
assailants brandished a dangerous weapon. Prior to January 12, 2018, the Mitsubishi
Outlander had been transported, shipped and received in interstate or foreign

commerce.

Count Three (1/13/18 Infinity FX carjacking) and
Count Four (violation of 18 U.S.C. § 924(c)(1)(A)(Gi)):

On January 13, 2018, Defendant and others, all aiding and abetting each other
and with the intent to cause serious bodily harm, did knowingly take a 2005
Infinity FX-35 (VIN # JNRASO8WX5X213348) motor vehicle at a Burger King
restaurant in Isla Verde, Puerto Rico, from the person and in the presence of another

person, against the person’s will, by force, violence, and intimidation. During and in

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relation to that incident and as part of the plan known beforehand to the Defendant,
one of the assailants knowingly brandished a firearm at the victim. Prior to January
13, 2018, the Infinity car had been transported, shipped and received in interstate or
foreign commerce.

Count Five (1/13/18 Motorcycle carjacking resulting in death):

On January 13, 2018, Defendant and others, all aiding and abetting each other
and with the intent to cause death or serious bodily harm, did knowingly take a red
and white all-terrain KTM 450 motorcycle motor vehicle at a Puma gas station in
Santurce, Puerto Rico, from the person and in the presence of another person, against
the person’s will, by force, violence, and intimidation. During that incident and as
part of the plan known beforehand to the Defendant, one of the assailants knowingly
brandished a firearm. At least ondlot thetassaitaiits shot the driver of the motorcycle,
resulting in his death. Defendant drove away in the motorcycle. Prior to January
13, 2018, the motorcycle had been transported, shipped and received in interstate or
foreign commerce.

Count Seven (1/14/18 Hobbs Act robbery of Tripletas Mixtas Ruiz business):

On January 14, 2018, Defendant and others, all aiding and abetting each other,
robbed money from a food business called Tripletas Mixtas Ruiz in Cayey, Puerto
Rico. The assailants (including Defendant) brandished firearms during the robbery
as part of the plan known beforehand to the Defendant. The assailants knowingly
took the business’s cash register from and in the presence of employees, against their

will by means of actual and threatened force, violence, and fear of injury, immediate

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and future, to their persons. One of the employees died from gunshot wounds
inflicted by at least one of the assailants. Two other employees were injured by
gunshot wounds inflicted by at least one of the assailants. On January 14, 2018,
Tripletas Mixtas Ruiz was engaged in a food business in interstate commerce and in
an industry that affected interstate commerce. Defendant acknowledges that this
robbery of Tripletas Mixtas Ruiz affected commerce and the movement of articles and
commodities in commerce, as that term is defined in 18 U.S.C. § 1951(6)(3).

Count Nine (1/14/18 Toyota Tacoma carjacking resulting in death):

On January 14, 2018, Defendant and others, all aiding and abetting each other
and with the intent to cause death or serious bodily harm, did knowingly take a Toyota
Tacoma motor vehicle near the Tripletas Mixtas Ruiz business in Cayey, Puerto Rico,
from the person and in the presence-of shothér person, against the person’s will, by
force, violence, and intimidation. During that incident and as part of the plan known
beforehand to the Defendant, at least one assailant knowingly brandished a firearm.
The Toyota Tacoma’s driver was shot by at least one assailant and died as a result.
Defendant and others got into the Toyota Tacoma and drove off. Prior to January
14, 2018, the Toyota Tacoma had been transported, shipped and received in interstate
or foreign commerce.

Count Thirteen (1/11/18 Hobbs Act robbery of El Invader business):

On January 11, 2018, Defendant and others, all aiding and abetting each other,

robbed money from a food business called El Invader off of Highway 1 in the direction

of San Juan. At least one of the assailants brandished a firearm as part of the plan

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known beforehand to the Defendant. The assailants knowingly took the business’s
money from and in the presence of employees, against their will by means of actual
and threatened force, violence, and fear of injury, immediate and future, to their
persons. One of the employees died from gunshot wounds from at least one of the
assailants. On January 11, 2018, El Invader was engaged in a food business in
interstate commerce and in an industry that affected interstate commerce. Defendant
acknowledges that this robbery of El Invader affected commerce and the rcmenrent of
articles and commodities in commerce, as that term is defined in 18 U.S.C.
§ 1951(b)(3).
Count Fifteen (11/24/17 Mitsubishi Lancer carjacking):

On November 24, 2017, Defendant and others, all aiding and abetting each
other and with the intent to eatee serious bodily harm, did knowingly take a
white-colored Mitsubishi Lancer motor vehicle (license plate I[Z181) at the parking
lot of a Church’s Chicken restaurant in the Catalinas Shopping Mall in Caguas, Puerto
Rico, from the person and in the presence of another person, against the person’s will,
by force, violence, and intimidation. During that incident and as part of the plan
known beforehand to the Defendant, one of the assailants knowingly brandished a
dangerous weapon. Prior to November 24, 2017, the Mitsubishi Lancer had been
transported, shipped and received in interstate or foreign commerce.

At trial, the United States would have proven beyond a reasonable doubt that

Defendant is guilty as charged in Counts One, Three, Four, Five, Seven, Nine,

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Thirteen, and Fifteen of the Second Superseding Indictment. Discovery was timely

made available to Defendant for review. GN

 

 

 

Judy) Carls /Reyes-Ramos Francisco Rebollo-Casalduc, Esq.
Assistant U.S. Attorney ounsel for Defendant

Dated: by { g/ 2-022 ated: Y-%-2L

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Dereck Mufioz-Nieves
Defendant

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